Case 1:04-cr-00010-MW-GRJ        Document 551      Filed 06/01/07    Page 1 of 1




                                                                         Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:04-CR-010-SPM

MARCIA THURMAN, et al.,

     Defendants.
______________________________/

                   ORDER CONTINUING VIOLATION HEARING

      THIS CAUSE comes before the Court upon “Motion to Continue

Disposition Hearing” (doc. 549) filed June 1, 2007, in which defense counsel

requests a 30-day continuance of the violation of supervised release hearing in

order to meet with the Probation Office and Defendant. For good cause shown, it

is

      ORDERED AND ADJUDGED as follows:

      1.     Defendant’s Motion to Continue (doc. 549) is hereby granted.

      2.     The hearing is reset for Monday, July 2 2007 at 1:30pm at the

             United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this first day of June, 2007.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
